Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 1 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 2 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 3 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 4 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 5 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 6 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 7 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 8 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 9 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 10 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 11 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 12 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 13 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 14 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 15 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 16 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 17 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 18 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 19 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 20 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 21 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 22 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 23 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 24 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 25 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 26 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 27 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 28 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 29 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 30 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 31 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 32 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 33 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 34 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 35 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 36 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 37 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 38 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 39 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 40 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 41 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 42 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 43 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 44 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 45 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 46 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 47 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 48 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 49 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 50 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 51 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 52 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 53 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 54 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 55 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 56 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 57 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 58 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 59 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 60 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 61 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 62 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 63 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 64 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 65 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 66 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 67 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 68 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 69 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 70 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 71 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 72 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 73 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 74 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 75 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 76 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 77 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 78 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 79 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 80 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 81 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 82 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 83 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 84 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 85 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 86 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 87 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 88 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 89 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 90 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 91 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 92 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 93 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 94 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 95 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 96 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 97 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 98 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 99 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 100 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 101 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 102 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 103 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 104 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 105 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 106 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 107 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 108 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 109 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 110 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 111 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 112 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 113 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 114 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 115 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 116 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 117 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 118 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 119 of 120
Case 1:22-cv-00075-LJV Document 3 Filed 04/11/22 Page 120 of 120
